                I THE UITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TEESSEE
                             ASHVILLE DIVISIO

                                                  )
RUTH SMITH, Individually and as Widow for the )
Use and Benefit of Herself and the Next of Kin of )
Richard Smith, Deceased,                          )
                                                  )
      Plaintiff,                                  )
                                                  )      Civil No. 3:05–0444
v.                                                )      Judge Aleta A. Trauger
                                                  )
PFIZER INC., et al.,                              )
                                                  )
      Defendants.                                 )

                     TESTIMOY OF JAET ARROWSMITH, M.D.

       My name is Janet Arrowsmith. I live in Ruidoso, New Mexico. I am a physician

licensed to practice in the state of New Mexico. I am board certified in Internal Medicine, an

elected member of the American College of Epidemiology, and an elected Fellow of the

American College of Physicians. I received my undergraduate degree at Duke University in

1972 and obtained my medical degree from Tulane University School of Medicine in 1979.

       I have 11 years of experience with the United States Food and Drug Administration

(FDA). From 1984-1986, I was an Epidemic Intelligence Service Officer at the National Centers

for Disease Control (CDC) and Prevention in Atlanta, Georgia. In this position, I participated in

CDC and FDA epidemiologic investigations of problems of national and regional interest. From

1986-1988, I served as a Staff Epidemiologist in the Office of Epidemiology and Biostatistics at

the FDA. In this position, I monitored the postmarket safety of marketed drugs, and I served as a

consultant to the Centers for Drugs and Biologics Evaluation and Research on epidemiologic

issues and problems. From 1988-1990, I was the Deputy Director for Office of AIDS and

Special Health Concerns. From 1990-1991, I was the Senior Medical Officer for HIV at the




 Case 3:05-cv-00444 Document 172-1 Filed 04/27/10 Page 1 of 35 PageID #: 3887
Agency for Healthcare Policy and Research. From 1991-1993, I was a Medical Review Officer

in the Division of Antiviral Drug Products in the Center for Drug Evaluation and Research

(CDER).    From 1993-1995, I was the Acting Director of the Office of Surveillance and

Biometrics in the Center for Devices and Radiological Health at the FDA. From 1995-1996, I

was a Medical Review Officer in the Division of Blood Applications, Office of Blood Research

and Review in the FDA Center for Biologics Evaluation and Research. In both of my positions

as a Medical Review Officer, I was responsible for reviewing premarket INDs and NDAs. I was

on the faculty at Georgetown Medical Center in D.C. from 1986-1996 while I was at FDA and

had an afternoon clinic with residents where I provided clinical oversight for several years. I

also provided primary care in a community HIV/AIDS clinic in D.C. (at the time the largest

AIDS community-based clinic in the country) for eight years. After I left FDA and Washington,

D.C., I remained with the Public Health Service and moved to New Mexico, where I was

assigned to the Indian Health Service and was a primary care provider in the Mescalero Apache

Hospital on the Mescalero Apache Reservation near Ruidoso. A copy of my resume includes my

educational and professional experience and is marked as Exhibit 7426.                  [SHOW

POWERPOIT HERE (DR. ARROWSMITH’S QUALIFICATIOS)]

       In my clinical practice, I have prescribed medicines “off-label” countless times. Off-

label means uses other than those for which the medication has specific approval. The off-label

use of medicines is part of the practice of medicine. It is part of the standard medical training

and experience a doctor receives during medical school and residency. As you go into practice,

you gain experience with the off-label use of medicines as a matter of routine clinical practice.

Examples of medicines that I’ve prescribed off-label include: anticonvulsants, such as Neurontin

and Dilantin, for neuropathic pain; antidepressants, including tricyclic antidepressants for




                                     2
 Case 3:05-cv-00444 Document 172-1 Filed 04/27/10 Page 2 of 35 PageID #: 3888
neuropathic pain and fibromyalgia; antibiotics for children; and beta-blockers and ACE

inhibitors for heart failure.

        My opinions are expressed to a reasonable degree of medical and scientific certainty, and

are based on my training and experience as a medical doctor, epidemiologist, FDA medical

review officer and acting director of Office of Surveillance and Biometrics. My opinions are

also based on my knowledge of the regulations under which drug development occurs in the U.S.

under which pharmaceutical manufacturers are required to operate. These regulations are based

on the Federal Food, Drug, and Cosmetic Act. My opinions are also based on my knowledge of

and experience with FDA policies and procedures, as well as industry practices with which I

have become familiar through my employment at FDA and my consulting experience. My

opinions are summarized as follows: [SHOW POWERPOIT HERE (SUMMARY OF DR.

ARROWSMITH’S OPIIOS)]

        (1)   The Neurontin labeling was adequate under the regulations and provided

              appropriate information for safe and effective use.

        (2)   The package insert, and the Investigator’s Brochure prior to approval, included

              information concerning suicidal behavior and adverse effects on mood reported

              during clinical testing.

        (3)   There was no reason for Pfizer to warn of suicidal behavior in the Neurontin

              labeling prior to the requirement of class labeling in 2009 as the available

              information did not establish that this medicine was associated with an increased

              risk of suicidal behavior.

        I have reviewed a substantial number of documents relating to Neurontin.           These

documents include, but are not limited to, documents from the Neurontin IND, NDA and




                                     3
 Case 3:05-cv-00444 Document 172-1 Filed 04/27/10 Page 3 of 35 PageID #: 3889
sNDAs; the FDA medical officer's reviews of the NDAs and sNDAs; Neurontin labeling; the

September 13, 2007 affidavit of Cynthia McCormick, M.D., the FDA medical review officer

who reviewed the initial NDA for Neuron ; documents relating to contacts between FDA and the

sponsor, including the company’s ongoing evaluations of the potential risks of suicide and

depression; internal FDA documents; the 2008 Advisory Committee transcript and supporting

documents; regulations in 21 CFR part 300, which were in effect during the time Neurontin was

under development and throughout its marketing history; as well as relevant journal articles and

other scientific publications. I rely on my professional training and experience in assessing the

materials I have reviewed. In addition, I have reviewed the expert reports, deposition testimony,

and materials considered by plaintiffs’ expert Cheryl D. Blume, Ph.D. I have also reviewed

expert reports and materials considered by other defense experts.

       To begin with, I would like to describe what the Food and Drug Administration (FDA) is

and what it does. The FDA is the expert federal agency charged by Congress with ensuring that

prescription drugs for the U.S. market are “safe and effective” when used in accordance with the

approved product labeling.      FDA’s authority to regulate the manufacture, labeling and

distribution of human medicines is aimed at promoting and protecting the public health. The

primary focus of FDA is patient and public health safety. FDA regulations governing drug

development, labeling, and marketing establish both a ‘floor’ and a ‘ceiling’ for safety. Given the

comprehensiveness of FDA regulation of drug safety, effectiveness, and labeling under the act,

additional requirements for risk disclosure are not necessarily more protective of patients.

Exaggeration of risk could discourage appropriate uses of a beneficial drug.

       The FDA has over 9,000 employees located in more than 150 U.S. cities. Among its

staff, FDA has several thousand scientists, including physicians, chemists, pharmacologists,




                                     4
 Case 3:05-cv-00444 Document 172-1 Filed 04/27/10 Page 4 of 35 PageID #: 3890
epidemiologists, statisticians, microbiologists and other professionals. Many of these scientists

work in CDER (Center for Drug Evaluation and Research), the drug review, approval and

monitoring section of the FDA. CDER is the largest drug regulatory agency in the world.

       In this case, there has been extensive dialogue and exchange of information between

FDA and Pfizer concerning the safety of Neurontin. As I will explain later, at no time did FDA

require a warning concerning depression or suicide based upon the Neurontin data alone. The

class warning about suicidal behavior came about following FDA’s 2008 combined analysis of

clinical trials data for 11 antiepileptic drugs. Because of the data included in this analysis, only

FDA could perform the analysis and only FDA can impose a class label.

       Since 1962, federal law requires pharmaceutical companies to submit to FDA for its

review an Investigational New Drug application (IND) prior to administering an unapproved

drug to humans in the U.S. The IND contains extensive information on the manufacture of the

drug, animal studies, pharmacologic studies, and protocols for the first studies in humans.

       Assuming FDA permits the IND to go forward, both FDA and the manufacturer will

monitor results and safety data from the clinical trials. As a practical matter, drug product

sponsors usually request formal meetings with the FDA review division responsible for the IND

to discuss essential aspects of the drug development plan. Typically, there may be a pre-IND

meeting, an End-of-Phase 2 meeting and other meetings between representatives from the

sponsor and FDA management and review scientists. In these meetings, the sponsor proposes a

development plan, receives advice from FDA scientists, and may seek agreement on specific

aspects of the drug development plan.

       Assuming that clinical drug development progresses to the point that the sponsor believes

there is sufficient data to demonstrate safety and effectiveness of the drug for a specific




                                     5
 Case 3:05-cv-00444 Document 172-1 Filed 04/27/10 Page 5 of 35 PageID #: 3891
indication, it can submit a New Drug Application (or NDA) to FDA, requesting permission to

market the drug in the U.S. The content and order of information in the NDA are established by

FDA regulations and includes, among other things, detailed descriptions of a) pre-clinical

pharmacology and toxicology studies concerning the drug and its possible side effects; b) human

pharmacokinetics and bioavailability studies concerning the drug; c) clinical studies establishing

the safety and effectiveness of the drug; d) statistical analyses of clinical and preclinical studies;

and e) draft product labeling. Approval of a new drug for marketing includes FDA approval of

the labeling. Applications for approval to market a drug for additional indications after the initial

product approval are submitted in supplemental New Drug Applications, or sNDAs.

       Once the NDA has been submitted, FDA scientists determine whether the data are

sufficient to establish that the drug meets FDA’s safety and efficacy requirements. A team of

physicians and other scientists conduct a careful review of the NDA and prepares detailed reports

on their findings. FDA reviewers are all experts in their fields. After intensive assessment by

the FDA review team, FDA makes a decision about the NDA. At the time of the initial approval

of Neurontin, FDA issued letters to sponsors indicating that the NDA was approved, not

approved, or was approvable. If the NDA was approvable but not approved, FDA identified the

deficiencies that must be corrected and the additional information that must be submitted before

approval would be reconsidered.

        The U.S. drug development process is rigorous and scientifically sound. FDA estimates

that of the thousands of compounds initially identified as having potential a new human drug,

only five will enter clinical testing; of those five, three will result in an NDA, but only one will

eventually be marketed.




                                     6
 Case 3:05-cv-00444 Document 172-1 Filed 04/27/10 Page 6 of 35 PageID #: 3892
       A prescription drug label is the primary way FDA and the manufacturer communicate

essential information for safe and effective use of the drug to prescribers.       FDA carefully

controls the content of labeling of prescription drugs.       Both the manufacturer and FDA

continuously monitor the available scientific information on the safety of products in order to

incorporate important new information into product labeling when appropriate.

       Draft labeling is submitted as part of every NDA. The draft labeling is extensively

reviewed and revised by the sponsor and by FDA prior to approval. Development of the product

label is a lengthy process and typically involves extensive communications between the company

and FDA. FDA has full authority over each section of the label and FDA makes the final

determination on the appearance, content, placement and language for information included in

the label. The final draft of a product label is the product of the best judgment of both the

manufacturer and FDA and in accordance with the regulations. Both FDA and the product

sponsor review the labeling throughout marketing for possible revisions based on postmarketing

safety data or other information. As I understand in the Smith case, the issue involves whether

the label should have included a warning about an increased risk of suicidal behavior or

depression. At no time during the relevant time period did FDA request, nor did the available

information require, that the Neurontin label include a specific warning about suicidal behavior

or depression.   It is my opinion that the available data do not establish that Neurontin is

associated with an increased risk of suicidal behavior and that FDA’s decisions concerning the

Neurontin label prior to the imposition of a class wide label in 2009 were appropriate.

       Specifically, the labeling requirements in effect during the relevant time period are found

in 21 C.F.R. § 201.57. These requirements specified that safety information was to be included

in the Contraindications, Warnings, Precautions, and Adverse Events sections of the labeling.




                                     7
 Case 3:05-cv-00444 Document 172-1 Filed 04/27/10 Page 7 of 35 PageID #: 3893
These FDA regulations established when a warning needed to be included in a label, stating that

“The labeling must be revised to include a warning as soon as there is reasonable evidence of an

association of a serious hazard with a drug; a causal relationship need not have been proved.”

[SHOW POWERPOIT HERE (21 C.F.R. 201.57 (2002))] If the evidence for a particular

adverse event does not rise to the level of “reasonable evidence of an association,” there is still a

place in the label for reporting that event. One section is the “Clinical Trials Experience”

section, where the company lists adverse reactions reported from clinical trials. Including an

adverse event in this section does not mean the company or FDA has concluded that the event

occurred as a result of the drug, but rather that these events have been observed at certain rates

in the clinical trials data set.

        FDA also has authority to require certain labeling changes when a drug such as Neurontin

is being prescribed used off-label. Specifically, FDA can require a labeling change or warning if

the off-label use is not effective or if the off-label use poses a significant risk or hazard. Here is

what the regulations provide. Under 21 C.F.R. § 201.57(c) (2005) “[i]f there is a common belief

that the drug may be effective for a certain use or if there is a common use of the drug for a

condition, but the preponderance of evidence related to the use or condition shows the drug is

ineffective” FDA may require that the label state that there is a lack of evidence demonstrating

efficacy for that use. In the recently published revisions to the format for prescription drug

labels, FDA may require the addition of warnings to a package insert if it believes the medication

poses an increased risk in certain patient populations using the drug off-label. Beginning in

2006, Section 201.57(c) (2006) states, in part, that “A specific warning relating to a use not

provided for under the ‘Indications and Usage’ section of the labeling may be required by the

Food and Drug Administration if the drug is commonly prescribed for a disease or condition, and




                                     8
 Case 3:05-cv-00444 Document 172-1 Filed 04/27/10 Page 8 of 35 PageID #: 3894
there is lack of substantial evidence of effectiveness for that disease or condition, and such usage

is associated with serious risk or hazard.”          In addition, Section 201.57(c)(3)(iii), under

Indications and Usage section, states, in part, that “If there is a common belief that the drug may

be effective for a certain use or if there a common use of the drug for a condition, but the

preponderance of evidence related to the use or condition shows that the drug is ineffective or

that the therapeutic benefits of the product do not generally outweigh its risks, FDA may require

that this section state that there is a lack of evidence that the drug is effective or safe for that use

or condition.”

       Based on the Division Director’s memo, it is clear that FDA was well aware of the off-

label use of Neurontin for neuropathic pain by at least 2002 and the agency was certainly aware

of the Department of Justice’s investigation of off-label promotion on or before May 2004. At

no time did FDA require a change to the Neurontin label concerning off-label uses.

       Virtually all medicines have side effects. It is a well-accepted principle that neither all of

the benefits nor all of the risks associated with use of a new drug will be known at the time of

approval. To further evaluate the risks and benefits of a new drug after approval, FDA and the

sponsor are required to monitor the medical literature, ongoing clinical investigations and

adverse event reports submitted by prescribers, patients and others. This is called postmarket

surveillance.

       Based upon my review of the company’s postmarketing pharmacovigilance practices,

including information provided by Pfizer to FDA after 2004, there was no evidence of a signal

for suicide at any time following approval of the NDA in December of 1993. It also appears that

no clinical information emerged during the postmarket use of Neurontin that changed the

risk/benefit analysis of Neurontin for its labeled uses.




                                     9
 Case 3:05-cv-00444 Document 172-1 Filed 04/27/10 Page 9 of 35 PageID #: 3895
       Before going into details about Neurontin, it is useful to go over some facts about the

patients who take Neurontin and the conditions for which they may receive the drug.

Epidemiologic data show that, in general, the patient populations participating in gabapentin

trials and individuals to whom Neurontin has been prescribed after approval generally have a

higher rate of suicide than people without those conditions. Because of their increased risk for

suicide, clinicians expect these types of patients will have a higher suicide rate than the general

population and that suicides can be expected in any clinical trial enrolling such patients

regardless of treatments they may receive. [SHOW POWERPOIT HERE (BACKGROUD

SUICIDE RATES I EPILEPSY, PAI, AD PSYCHIATRIC POPULATIOS].

       Regarding bipolar disorder, published data show that the rate of suicide in bipolar

disorder is significantly elevated compared to the rate in the general population. One report

combining the results of 28 international studies for bipolar disorder found the rate of suicide per

year in that population was 4 per 1,000, compared to a background rate of 14 per 10,000 in the

general population. Bipolar disorder is relatively common and is associated with elevated risks

forpremature death. The most significant risk for early death is from suicide. In fact, suicide

rates in patients with bipolar disorder are estimated at more than 3-times higher than the risk in

the general population.

       Patients suffering from anxiety disorders are also at a significantly greater risk for suicide

as compared to the general population. A review of the FDA database of anti-anxiety trials for a

number of other drugs estimates the rate of suicide in study participants to be 0.193% per year,

or about 2 suicides per 1000 people per year. This suicide rate is about 10-times greater than in

the general population. Patients with depressive disorders and psychotic disorders are estimated

to have a suicide risk 60-70 times higher than the general population.




                                    10
Case 3:05-cv-00444 Document 172-1 Filed 04/27/10 Page 10 of 35 PageID #: 3896
       Epidemiologic data also indicate that persons with chronic pain commit suicide or

attempt suicide more frequently than the general population. A review of studies from 1966

through 1999 looking at the association between chronic pain and suicide reported: “Two studies

[addressing completed suicide] found that the suicide rate for [chronic pain patients] is two to

three times greater than the general population.” One study indicated that subjects with low back

pain had a significantly increased risk of completed suicide as compared to subjects without low

back pain. The studies on suicide ideation showed a very high prevalence of suicidal ideation

among chronic pain patients, with a rate of suicidal ideation ranging from 17% to 66%.

       Patients with epilepsy are also at an increased risk for suicide compared to the general

population. Reported rates of suicide in the scientific literature concerning epilepsy estimate that

up to 25% of these patients commit suicide, with an average rate of 11.5% across epilepsy

populations. This is about 12 persons per 100 patients. This rate is significantly higher than the

rate for the general public. Individuals with epilepsy also have higher rates of suicide attempts

compared with the general population.

       Based on my experience at FDA and as an FDA regulatory consultant, I am well aware of

how FDA views and assesses adverse events reported after market approval of a prescription

drug. I have written book chapters on this subject in textbooks and have published medical

journal articles addressing adverse event reporting. Based on my review of regulatory record, it

is clear to me that both the company and FDA appropriately concluded that uncontrolled data

and postmarket adverse event reports are not useful in addressing a possible relationship between

use of Neurontin and suicidal behavior.

        Let me explain briefly about the types of data that are available in assessing the safety of

a new drug. [SHOW POWERPOIT (RADOMIZED COTROLLED TRIALS (RCTS)




                                    11
Case 3:05-cv-00444 Document 172-1 Filed 04/27/10 Page 11 of 35 PageID #: 3897
AD UCOTROLLED TRIALS)] A randomized controlled trial (RCT) is a study in which

subjects are assigned to a treatment by chance alone. The treatment can be either a sugar pill

called a placebo, a known active treatment or the medicine being studied in the trial. In a double-

blind RCT, neither the subject nor the physician knows which treatment or pill the patient is

getting. This study design is expected to reduce bias and possible confounding factors that might

obscure the effects of the experimental treatment. Double-blind, randomized, placebo-controlled

clinical trials are considered the gold standard in drug development studies.

        Other types of studies may be used to assess a new drug’s effects.        An uncontrolled

study is a study in which only the experimental treatment is administered to patients and there is

no comparative treatment. Uncontrolled trials may help establish the potential beneficial effects

of a new drug. Uncontrolled trials may help identify the most suitable patients to include in

clinical trials and may help estimate how much clinical effect can be seen with the new

treatment.   Following approval of the drug, adverse event reports may provide additional

information associated with the use of the drug. These are generally uncontrolled data and have

more limited usefulness than data from controlled trials.

       When safety information is based on uncontrolled trial or postmarket adverse event

reports, it is important to consider the background rate of a particular adverse event for the

population of patients. In terms of safety assessments of new drugs, it is important to consider

the background rate of a particular adverse event for the population of patients in whom the drug

is being used. For instance, in assessing the risk of suicide in patients taking Neurontin in an

uncontrolled trial, it is important to have reliable information on the background rates of suicide

in patients with epilepsy, psychiatric disorders, and chronic pain. FDA epidemiologists and

clinicians consider the background rates of suicidal behavior in these patient populations in




                                    12
Case 3:05-cv-00444 Document 172-1 Filed 04/27/10 Page 12 of 35 PageID #: 3898
assessing the clinical importance of reports of suicidal behavior associated with the use of

Neurontin. In assessing any potential association between Neurontin and any reported adverse

event, including suicidal behavior, it is especially important to be able to account for

confounding factors. Confounding factor can include other, coexisting medical or psychiatric

conditions and other medicines used to treat those conditions

       Now I would like to go over information on the development of Neurontin with you.

Warner-Lambert/Parke-Davis submitted the Neurontin IND to FDA on May 29, 1986. The

initial Neurontin NDA, which includes 250 volumes of data, was submitted on January 15, 1992.

As part of the initial NDA review and approval process, FDA medical officers and other

scientists evaluated and considered safety information available in the Integrated Summary of

Safety (ISS) submitted in January 1992 and four safety updates. The ISS is the summary of all

available information about the safety of the drug product, including animal data, demonstrated

or potential adverse effects of the drug, clinically significant drug/drug interactions, and other

safety considerations, such as data from epidemiological studies of related drugs. A Safety

Update provides safety data and information from clinical trials that were not complete at the

time that the NDA was submitted, and therefore were not included in the NDA submission.

       The January 1992 ISS included the report of a suicide which had in a patient in one of the

controlled clinical trials and which occurred six months after the patient’s discontinued use of

Neurontin. It is obvious that Neurontin could not have played a role in this suicide but it was

reported to the agency. In addition, the ISS, which is Exhibit 7054, specifically addressed

episodes of depression, suicidal ideation, and suicide attempt in a stand-alone section titled

“Depression.” This section stated that “depression is commonly reported as a concurrent illness




                                    13
Case 3:05-cv-00444 Document 172-1 Filed 04/27/10 Page 13 of 35 PageID #: 3899
in the epileptic population” and that suicide attempt among epileptic patients is “estimated to be

4 to 5 times that expected in a nonepileptic population.”

       The FDA reviewed safety data from the Neurontin controlled clinical trials in its review

of regulatory submissions from Warner-Lamber/Parke-Davis. The controlled clinical trial data

show no association between Neurontin and depression. As you can see in this slide containing a

table from the First Safety Update, which is Exhibit 7068, [SHOW POWERPOIT HERE

(FIRST SAFETY UPDATE)] the controlled-trial data from the epilepsy studies reveals that 1.8

percent of Neurontin patients reported depression during experimental drug treatment compared

to 1.1 percent of placebo patients. It is my opinion, and Dr. Blume agrees, that this difference in

the incidence of depression, although numerically different, is not statistically or clinically

different and does not demonstrate an increased risk for depression with patients assigned to

Neurontin. [SHOW POWERPOIT HERE (EUROTI DOES OT ICREASE THE

RISK OF DEPRESSIO)]. Had FDA reviewers concluded that Neurontin increased the risk of

depression or suicide, they would have been obligated to have required a warning in the label at

the time the drug was approved.

       In assessing the safety and efficacy of all prescription drug products, FDA relies on the

clinical judgment and expertise of its medical officers Thus, reports of depression, suicidal

behavior, and other psychiatric events were considered by FDA clinicians in their evaluation of

the risk/benefit profile for Neurontin. For example, Cynthia McCormick, M.D. took notice of

the suicide reported in the ISS and noted in her Medical Officer’s Review of the Neurontin NDA

and First and Second Safety Updates, which is labeled Exhibit 7563, that this suicide had

occurred six months after the patient’s last dose of gabapentin and that this was one suicide

among the estimated 2,096 subjects exposed to gabapentin that the suicide “occurred long after




                                    14
Case 3:05-cv-00444 Document 172-1 Filed 04/27/10 Page 14 of 35 PageID #: 3900
discontinuation of treatment.” As reflected on pages 102, 105, 107-09, 114, and 117 of this

report, Dr. McCormick evaluated very carefully the reports of depression, suicidal ideation, and

suicide attempt reported from the clinical trials. Dr. McCormick did not conclude that the

clinical trial data demonstrated an increased risk for depression or suicidal behavior among the

Neurontin treated patients. In fact, the First Safety Update, which Dr. McCormick reviewed and

is Exhibit 7068, showed that there was a higher percentage of “psychobiologic events” reported

for patients on placebo than those receiving Neurontin.      [SHOW POWERPOIT HERE

(RATE OF PSYCHOBIOLOGIC ADVERSE EVETS HIGHER I PLACEBO)]

       I have reviewed in detail the Combined Medical-Statistical Review that was completed in

May 1993. I would like to focus on two pages in response to Dr. Blume. First it is important to

understand that at the time this document was written, the safety information was current as of

September 15, 1992. [SHOW POWERPOIT HERE (MEDICAL-STATISTICAL

REVIEW DATA CUTOFF OVER OE YEAR PRIOR TO EUROTI APPROVAL)]

Two more safety updates were filed by the company after this review, providing FDA with

additional information on depression and suicidal behavior. On page 117, Dr. McCormick

specifically addresses depression as an adverse event reported from the clinical trials. Based on

the regulatory record, it is clear that Dr. McCormick continued to evaluate the safety evidence

from the company’s submissions in 1993 and again in 2002 and found no basis to conclude that

Neurontin was associated with an increased risk of suicidal behavior or depression.

       Specifically, in 1993 Dr. McCormick reviewed the Third Safety Update submitted to

FDA in May 1993 and the Fourth Safety Update submitted to FDA in December 1993. Exhibit

7562 is Dr. McCormick's review of the Fourth Safety Update. In her review of the Fourth Safety

Update, Dr. McCormick noted that “there is a higher incidence of depression among epileptics




                                    15
Case 3:05-cv-00444 Document 172-1 Filed 04/27/10 Page 15 of 35 PageID #: 3901
with partial seizures as compared to the general population.”    Dr. McCormick also stated that

“one cannot determine based on the available data, largely uncontrolled, whether the reports here

represent an increase in incidence or intensity of depression compared to that which is expected.”

[SHOW POWERPOIT HERE (DR. MCCORMICK’S REVIEW OF FOURTH SAFETY

UPDATE)] Dr. McCormick evaluated the full spectrum of adverse events, including episodes

of depression and suicidal behavior, before concluding that Neurontin was safe and effective and

should be approved for marketing.

       Episodes of depression and suicide were also evaluated by Dr. McCormick's supervisor,

Dr. Russell Katz. In Exhibit 7102, which is his Supervisory Overview report, Dr. Katz pointed

out that the only suicide had occurred “after having been off drug for a considerable time.” Like

Dr. McCormick, Dr. Katz did not suggest that gabapentin increased the risk for depression or

suicidal behavior. Dr. Katz, who is currently the Director of the Neuropharmacological Drug

Products Division, agreed with Dr. McCormick's conclusion that Neurontin was safe and

effective for its intended use as adjunctive therapy for the treatment of partial seizures and

should be approved.     Dr. Katz's supervisor at the time, Dr. Paul Leber, Director of the

Neuropharmacological Drug Products Division, agreed with Dr. Katz's and Dr. McCormick's

recommendations regarding gabapentin's safety and efficacy. His report, which is Exhibit 7107,

raised no concern about depression or suicidal behavior.

       Gabapentin was the first in a new class of drugs, so it was brought before the Peripheral

and Central Nervous System Advisory Committee on December 15, 1992 for their expert

consideration. A transcript of this advisory committee meeting is Exhibit 7244. Prior to the

meeting, the Advisory Committee members received a set of briefing materials, which included a

draft of Dr. McCormick's Medical Officer's Review. During the course of the meeting, Dr.




                                    16
Case 3:05-cv-00444 Document 172-1 Filed 04/27/10 Page 16 of 35 PageID #: 3902
McCormick provided a summary of her clinical assessment of the safety and efficacy of

Neurontin. Included in Dr. McCormick's presentation was a discussion of the data on suicidal

behavior and depression. Specifically, Dr. McCormick noted the suicide that had occurred six

months after discontinuation of Neurontin. Dr. McCormick also noted, among other things, that

there had been two suicide attempts among 2,048 clinical trial patients treated with Neurontin.

       At no point during her presentation to the Advisory Committee did Dr. McCormick

suggest that Neurontin causes or increases the risk for developing depression or suicidal

behavior.   With respect to depression, Dr. McCormick noted that “numerous examples were

found on a spot check among case report forms where patients developed treatment-emergent

depression, pharmacological intervention was required, and a report of a serious adverse event

was not made. Indeed, it wasn't required.”

       After considering both safety and efficacy data, including the data on depression and

suicide, the Advisory Committee voted unanimously to recommend approval of Neurontin. At

no point did the Advisory Committee members suggest that there was an increased risk for

suicide or suicidal ideation with Neurontin use.

       FDA was very engaged with the company during the NDA review and had substantial

involvement in developing the text of the Neurontin label approved on December 30, 1993.

FDA correspondence and Warner-Lambert records of contact reflect at least 109

communications between Warner-Lambert and the FDA and 140 questions sent by FDA to

Warner-Lambert during the FDA’s review of the initial Neurontin NDA. One letter reflecting

these communications, which is shown in the current slide [SHOW POWERPOIT HERE

(FDA HAD SUBSTATIAL IVOLVEMET I DEVELOPIG THE EUROTI

LABEL)], is an approvable letter from Robert Temple, M.D., of FDA, which is Exhibit 7029.




                                    17
Case 3:05-cv-00444 Document 172-1 Filed 04/27/10 Page 17 of 35 PageID #: 3903
FDA's significant involvement in developing the package insert is also reflected in a record of

contact following a phone conversation between officials from FDA and Warner-Lambert on

October 6, 1993. The record of contact, which is labeled Exhibit 7128 and is displayed on the

current     slide   [SHOW       POWERPOIT        HERE      (PRIOR      TO    APPROVAL,        FDA

CAREFULLY REVIEWED EVERY WORD OF EUROTI LABEL)], notes that FDA's

delay in approving the NDA is because the agency is “fine tuning the labeling. They are

reviewing every word . . . .”

          At no time during the labeling discussions and conferences did FDA request or require

changes to the label regarding suicide, suicidal behavior, depression, or other psychiatric-related

events be modified or moved to a different frequency category. Dr. McCormick identified five

potential adverse events that might limit Neurontin’s widespread usefulness in her May 1993

Medical Officer’s Review: Status epilepticus, potential carcinogenic effects, depression,

potential nephrotoxicity, and potential teratogenicity of the drug. Three of these potential risks,

nephrotoxicity, status epilepticus and carcinogenicity, were included in the warnings section of

the initial Neurontin label; depression as a possible adverse event did not require a warning in the

label. Depression was listed in a table discussing adverse events which occurred in the premarket

clinical trials at a rate of 1% or more and occurred at a higher rate in Neurontin-treated patients

than in placebo patients. Suicidal and suicide gesture also did not require a warning and were

properly included in the Adverse Reactions section of the label,

          I told you earlier about the standard for the addition of warnings to a drug label under 21

C.F.R. 201.57 during the relevant time frame. After reviewing all of the data for Neurontin in

the NDA, FDA did not require a warning for depression or suicide in the approved label. On

December 30, 1993, FDA approved the initial NDA and attached the final, approved labeling.




                                    18
Case 3:05-cv-00444 Document 172-1 Filed 04/27/10 Page 18 of 35 PageID #: 3904
As noted in the FDA's approval letter, dated December 30, 1993 and labeled Exhibit 7030,

[SLIDE] the FDA required that the final printed label be identical to the draft labeling the FDA

enclosed with its approval letter. In the Neurontin label approved December 30, 1993, labeled

Exhibit 7008, [SHOW POWERPOIT HERE (FDA-APPROVED LABEL TOLD

PHYSICIAS OF REPORTED SUICIDALITY EVETS, REGARDLESS OF CAUSE)]

“suicidal” was listed as an infrequent event and “suicide gesture” was listed as a rare event in the

label’s section on adverse reactions, as shown in this slide. The approved label also properly

advised physicians about the occurrence of depression in Neurontin clinical trials, which I

previously said was 1.8% in Neurontin-treated patients and 1.1% in Placebo-treated patients.

[SHOW        POWERPOIT         HERE      (FDA-APPROVED           EPILEPSY       LABEL      TOLD

PHYSICIAS ABOUT REPORTED DEPRESSIO O EUROTI AD PLACEBO)]

It is my opinion that FDA performed a careful and in-depth review of the all the Neurontin data,

including data on depression and suicide. The issue of potential risks for depression and suicide

was clearly on FDA’s radar early on in the process of approval. FDA asked specifically for more

data on depression and suicide and Dr. McCormick addressed these issues a number of times in

her Review.      It is clear that FDA considered the potential adverse events of suicide and

depression in its approval and labeling decisions, but did not require a labeled warning for these

events.

          Neurontin underwent additional regulatory review when Pfizer submitted an sNDA in

August of 2001 for the management of neuropathic pain. The neuropathic pain indication was

revised to post-herpetic neuralgia (PHN) in October 2001. The medical review officer for this

sNDA was Sharon Hertz, M.D., and Dr. McCormick submitted her own evaluation of the PHN

submission in the “Division Director Review and Basis for Approval Action.”         It is clear from




                                    19
Case 3:05-cv-00444 Document 172-1 Filed 04/27/10 Page 19 of 35 PageID #: 3905
the regulatory record, prior to approval FDA clinical reviewers carefully evaluated the clinical

evidence for safety and effectiveness submitted in this NDA.

       As with the previous NDA for the treatment of epilepsy, Pfizer's PHN regulatory

submissions included data on adverse events reported during the neuropathic pain studies. In the

PHN ISS dated December 13, 2001, which is Exhibit 7087, Pfizer provided cumulative data and

patient narratives for all serious adverse events resulting in patient withdrawal from the

controlled trials and for all deaths. The data from the two controlled trials in PHN and the five

controlled trials for neuropathic pain indicated that more patients taking placebo reported serious

depression than patients taking Neurontin. Dr. Hertz’ clinical review, labeled Exhibit 7117,

contains a table that shows the rates of depression in neuropathic pain in the neuropathic pain

and epilepsy trials shown on this slide [SHOW POWERPOIT HERE (FDA FOUD A

UMERICALLY HIGHER RATE OF DEPRESSIO I PATIETS GIVE A

PLACEBO THA PATIETS TREATED WITH EUROTI I PAI STUDIES)] As

you can see, 1.3% of patients on Neurontin in neuropathic pain studies reported depression as an

adverse event while on treatment, as compared to 2.2% of placebo patients in these studies. The

other numbers are the rates of depression in the epilepsy clinical trials, which you may remember

were 1.8% in Neurontin-treated patients and 1.1% in Placebo-treated patients. Neither of these

differences is statistically significant. There was no reason for Pfizer to warn about depression

or suicidal behavior based upon the double-blind randomized controlled clinical trials in epilepsy

or neuropathic pain. Warner-Lambert also studied Neurontin in psychiatric populations. In three

relatively small double-blind randomized controlled clinical trials in psychiatric patients, there

was no evidence that Neurontin made depression worse.




                                    20
Case 3:05-cv-00444 Document 172-1 Filed 04/27/10 Page 20 of 35 PageID #: 3906
       Dr. McCormick's “Division Director Review and Basis for Approval Action” dated May

22, 2002 and labeled Exhibit 7115 raised no concerns about depression or suicidal adverse

events and states “there has been adequate demonstration of safety and effectiveness of

Neurontin in the treatment of postherpetic neuralgia”.      Both Drs. Hertz and McCormick

concluded that Neurontin's safety and efficacy in treating patients with PHN was established in

two adequate and well-controlled clinical trials. On May 24, 2002, FDA approved the use of

Neurontin in the management of postherpetic neuralgia, when used in accordance with the

approved labeling.   This May 24, 2002 approval letter is Exhibit 7037. Again, the approved

labeling for the postherpetic neuralgia indication adequately disclosed information concerning

suicidal behavior in accordance with FDA regulatory requirements.

       In December 2005, Pfizer agreed to update the Neurontin package insert by replacing the

terms “suicidal” and “suicide gesture” with the terms “suicide attempt” and “suicide”. These

changes are reflected in Exhibit 7026, which is the December 2005 Neurontin label. FDA

considered these changes to be “minor,” as you can see in the current slide. [SHOW

POWERPOIT HERE (FDA’S 2005 ‘MIOR’ CHAGE TO SUICIDE-RELATED

ADVERSE EVET TERMS I EUROTI’S LABELIG)] This is the November 22,

2005 email from FDA requesting the labeling change, which is Exhibit 7204. The original

terms “suicidal” and “suicide gesture” had been approved by FDA based on a modification of the

standard adverse event coding dictionary used both by FDA and pharmaceutical companies

marketing drugs in the U.S. The Neurontin labels containing these terms were adequate for the

purpose of putting prescribers on notice about potentially “suicidal” adverse events reported

from the clinical trials. In 2005, this minor labeling change updated the clinical adverse event

terminology in the Neurontin label, but did not change the label in any significant way. These




                                    21
Case 3:05-cv-00444 Document 172-1 Filed 04/27/10 Page 21 of 35 PageID #: 3907
changes in terminology are analogous to an old way of referring to persons with epilepsy as

having “fits” or “epileptic fits” instead of the more current terminology “seizures” or “epileptic

seizures”. The older or archaic terminology is “epileptic fit” and the newer term is “epileptic

seizure”. These terms basically have the same meaning to a clinician; it is just that the term

“seizure” is the currently preferred terminology.       The changes in labeling terminology for

Neurontin are similar to the changes in the way we refer to the clinical manifestations of

epilepsy.

       It is my opinion that the Neurontin package inserts before and after December 2005

adequately informed prescribers of the risks and benefits of Neurontin, particularly with respect

to suicide-related events. For these reasons, I believe the Neurontin package insert at all times

relevant to this litigation adequately and appropriately disclosed the potential risks of suicidal

thinking and behavior in patients taking Neurontin.

       In June of 2006, at the request of the FDA and using FDA inclusion criteria, Pfizer

submitted the results of its evaluation of Neurontin clinical trial data for “possibly suicide-related

adverse events.” This submission from June of 2006 is labeled Exhibit 7207. This submission

only included data from controlled clinical trials, the most appropriate data for this type of

analysis. One example of the FDA’s perspective on the use of clinical trials data for this type of

analysis is Exhibit 7209, which is an April 12, 2005 letter from Dr. Katz of the FDA to Andrew

Finkelstein of the Finkelstein Law Firm. Prior to this letter, the Finkelstein firm had been

submitting adverse event reports to FDA that they claimed involved Neurontin and suicidal

behavior. FDA makes it clear that uncontrolled adverse event data on suicide are not useful in

evaluating whether Neurontin was associated with an increased risk for suicidal behavior.

Specifically, as you can see in this slide [SHOW POWERPOIT HERE (FDA:




                                    22
Case 3:05-cv-00444 Document 172-1 Filed 04/27/10 Page 22 of 35 PageID #: 3908
COTROLLED TRIALS ARE OLY WAY TO ASSESS WHETHER EUROTI IS

ASSOCIATED WITH ICREASED RISK OF SUICIDE)], in 2005 FDA told lawyers in the

Finkelstein firm that “these illnesses are well-known to be associated with an increased risk of

suicide compared to the general population. Further, in the absence of an appropriate control

group, it will be difficult, if not impossible, to assess the role of any other factors that might

explain these events, such as concomitant medications.” This statement by FDA supports one of

my major objections to Dr. Blume’s opinion – although FDA advised the plaintiffs’ lawyers that

uncontrolled data was not appropriate to analyze suicidal behavior, her report spends dozens of

pages relying upon uncontrolled data.

       FDA has also commented specifically on the use of spontaneous adverse event data to

analyze suicidality. In an April 1, 2008 email to Dr. Alex Ruggieri, which is labeled Exhibit

7392 and shown on this slide, [SHOW POWERPOIT HERE (FDA: COTROLLED

TRIAL DATA ARE THE OLY WAY TO ESTABLISH WHETHER AEDS ARE

RESPOSIBLE FOR SUICIDE)], FDA stated:

       Concerning your question why data from the FDA Adverse Event Reporting
       System (AERS) has not been analyzed or made public, the agency does not
       believe that spontaneous post-marketing reports can be interpreted appropriately
       in this situation. Patients taking these drugs have a high background rate of
       suicidal thoughts/behaviors, and it is not possible to tell from AERS reports,
       whether the drug caused them. In the agency's view, the only way to establish
       whether or not the drugs are responsible for suicidality is to analyze controlled
       trial data.

       FDA commented on the use of spontaneous adverse event data to assess suicidality

associated with Neurontin for a third time at the July 10, 2008 Joint Meeting of the Peripheral

and Central Nervous System and Psychopharmacologic Drugs Advisory committees.                   A

transcript of this meeting is labeled Exhibit 7257. At this Joint Advisory Committee Meeting, as

shown in the current slide [SHOW POWERPOIT HERE (FDA: USE PLACEBO-



                                    23
Case 3:05-cv-00444 Document 172-1 Filed 04/27/10 Page 23 of 35 PageID #: 3909
COTROLLED             TRIALS        BECAUSE          POSTMARKETIG               DATA        ARE

UITERPRETABLE)], Dr. Russell Katz of FDA stated, “…we had long ago decided that

postmarketing data are not the right data to look at, or we don’t believe that these sorts of things

where there is a high background rate of suicidality so defined in these populations, I think that

we have concluded that postmarketing data is uninterpretable, and that is why we went to

placebo-controlled trials.”

         Getting back to the June 2006 submission, this analysis included 8829 patients, in which

336 cases of “possibly suicide-related” adverse events were identified.     Further review of the

336 possible cases suicide-related adverse events associated with Neurontin use revealed zero

actual    cases of completed suicide, zero     cases of attempted suicide, and zero        cases of

“preparatory acts towards imminent suicidal behavior” in the data set. The incidence of suicidal

ideation which is another term for suicidal thinking among Neurontin users was nearly identical

to that of placebo patients, specifically 3.9 per 10,000 in Neurontin patients and 3.7 per 10,000 in

placebo patients.     [SHOW POWERPOIT HERE (COTROLLED TRIALS:                                 O

ICREASED RISK OF SUICIDE WITH EUROTI)] Pfizer wrote, “[T]he currently

submitted data provides further support for the conclusion that Neurontin neither causes nor is

associated with an increased risk of suicidal behavior and thinking, including completed suicide,

suicide attempt, suicide gesture and suicide ideation.” Thus, these data do not demonstrate an

increased risk for suicide or suicidal behavior in patients treated with Neurontin as compared to

patients treated with placebo.

         As you can see depicted in the slide currently being shown [SHOW POWERPOIT

(EVALUATIOS OF DEPRESSIO AD SUICIDALITY)], after numerous evaluations of




                                    24
Case 3:05-cv-00444 Document 172-1 Filed 04/27/10 Page 24 of 35 PageID #: 3910
data on depression and suicidality, neither FDA nor the Company detected a signal for increased

depression or suicidality based on Neurontin data alone.

       Following the company’s submission of the controlled clinical trial data in 2006, FDA

included the Neurontin clinical trial data on suicidality in its own analysis, along with controlled

clinical trial data for 10 other antiepileptic drugs, or AEDs. This 2008 FDA analysis is labeled

Exhibit 7559. FDA concluded that all AEDs, including those not represented in this analysis,

and including drugs not yet approved as AEDs, will be required to put suicide-related warnings

in their labels. The FDA analysis was not designed to establish whether any particular AED,

including Neurontin, is associated with an increased risk for suicide, but rather is the AED class

of drugs associated with an increased risk for suicide. The question concerning whether there

was an increased risk for each individual AED was raised during the July 2008 Joint Advisory

Committee meeting. The FDA statistician, Dr. Levenson, confirmed that the combined analysis

demonstrating an increased risk for suicide required the entire data set from all 11 AEDs which

you can see on the slide that is currently being shown. [SHOW POWERPOIT HERE (FDA

META-AALYSIS – ETIRE DATA ECESSARY TO DRAW COCLUSIOS)] Dr.

Twyman, a member of the advisory committee, asked: “Let’s assume that the effect is

generalizable to the class of AEDs. But if you look at the compounds individually, could one

draw the conclusion individually that compounds have a risk, or do you need to the entire data

set of all the AEDs put together in order to draw the conclusion that AEDs have a signal?” Dr.

Levenson, an FDA statistician, replied: “I would say we need the entire data set in this case.”

       After the Joint Advisory Committee Meeting, FDA instituted class labeling for AEDs.

Class labeling is specific language FDA requires be included in the labels of all drugs within a

certain class or type of medicines. Class labeling usually addresses a risk that FDA believes is




                                    25
Case 3:05-cv-00444 Document 172-1 Filed 04/27/10 Page 25 of 35 PageID #: 3911
shared by all medicines in that class of drugs. A class can be a pharmacologic class, where the

drugs share a similar mechanism of action, or it may be a therapeutic class, where drugs with

different mechanisms of action are used to treat a particular condition. From Neurontin’s initial

approval 1993 up through early 2009, FDA did not require a warning for suicide or depression in

the Neurontin label based on Neurontin data alone. I concur -- there was no scientific or medical

basis for such a warning. Only FDA can mandate a class warning and only FDA had access to

all the data on which it based the 2009 class labeling for AEDs.

       FDA has not concluded that AEDs cause suicide or suicidal behavior. In Exhibit 7558, a

December 2008 alert on suicidal behavior, suicidal ideation and antiepileptic drugs, shown in the

current slide, [SHOW POWERPOIT HERE (DECEMBER 16, 2008 – FDA TO

PHYSICIAS: FDA HAS OT COCLUDED AEDS CAUSE SUICIDAL BEHAVIORS]

FDA stated that its analysis does not mean that it has concluded that there is a causal relationship

between AEDs and suicidal behavior, and that FDA is not advising physicians or patients to

discontinue appropriate prescribing of AEDs.

       I have reviewed the report submitted by plaintiffs' retained expert, Cheryl Blume, Ph.D.,

as well as her deposition testimony. There are a number of errors and misconceptions in both her

expert report and in her testimony at deposition. Dr. Blume refers to “Regulatory documents

from the FDA” as reflecting Pfizer’s knowledge about safety issues related to Neurontin. The

document from which Dr. Blume quotes is the Medical and Statistical Review from the initial

approval of Neurontin as adjunctive treatment in refractory partial seizures with and without

secondary generalization in adults with epilepsy.       Scientific reviews like this are archival

documents intended to record the medical and statistical reviewers’ bases for their

recommendations for regulatory actions such as marketing approval. The FDA’s final decisions




                                    26
Case 3:05-cv-00444 Document 172-1 Filed 04/27/10 Page 26 of 35 PageID #: 3912
about the safety and effectiveness of an approved new drug are provided to the sponsor in the

approval letter and the approved labeling. Dr. Blume is mistaken if she believes that the MOR

reflects FDA’s final assessments of safety and effectiveness of a drug product. The MOR is not

routinely provided to a sponsor as a “regulatory document”. In fact, that specific MOR was only

available via a Freedom of Information request at the time of initial approval.

       Dr. Blume also alleges that Pfizer failed to include information in the Neurontin label

about the effects of gabapentin on monoamine neurotransmitters within the central nervous

system. A review of the draft labels submitted to FDA by Warner-Lambert prior to the initial

approval of Neurontin indicates that this allegation misrepresents the facts. The January 1992

draft label submitted with the Neurontin NDA, which is Exhibit 7004, includes this statement by

Warner-Lambert in the Mechanism of Action section: "Gabapentin slightly reduces the release

of monoamine neurotransmitters in vitro." This sentence appears in a number of subsequent

drafts of the product label before FDA deleted it in December 1993.

       Similar language about Neurontin’s possible mechanism of action was included in the

draft label submitted with the PHN NDA. The draft labels Warner-Lambert provided to FDA in

August 2001 and January 2002 included the statement: “Gabapentin reduces the stimulated

release of noradrenaline, dopamine, and glutamate under laboratory conditions. Gabapentin

administration to humans increases the total brain content of GABA after a single dose.

However the relevance of these findings to clinical use is not yet clear.” Again FDA deleted this

language from the draft package insert prior to Neurontin’s approval for treatment of post-

herpetic neuralgia. It is my opinion that FDA would not have removed this language if FDA

scientists and clinicians believed it had any relevance to the safe or effective use of the product.

I believe Dr. Blume is mistaken in her assertion that Neurontin’s possible effects on




                                    27
Case 3:05-cv-00444 Document 172-1 Filed 04/27/10 Page 27 of 35 PageID #: 3913
neurotransmitters in the central nervous system has any bearing on the safety of Neurontin, an

opinion that is supported by FDA’s deletion of this language from the Neurontin labels. After

May of 2002, there has been no reason, or scientific basis, for Pfizer to resubmit similar labeling

to FDA on this issue.

       I have reviewed the reported methods and data upon which Dr. Blume appears to base the

opinions she offers in her report. At a number of places in her report, Dr. Blume presents what

are essentially line listings of adverse events and clinical trial withdrawals, and then draws

inferences and conclusions from those line listings. I see no evidence that she performed any

analyses to determine if the differences she claims to have identified in rates of events between

the comparison groups (Neurontin-treated patients or placebo-treated patients) are likely to be

real differences or differences due to chance alone. The types of comparisons she makes, simply

comparing counts of events in the Neurontin-exposed population to counts of similar events in a

placebo-exposed population do not constitute reliable evidence of differences between the

Neurontin-exposed population and the placebo-exposed population, much less evidence of

causation. The “analyses” she reports are not consistent with generally accepted epidemiological

principles and are not reliable as estimates of an association between those events and the

exposures of interest.    Such simple comparisons are not used by epidemiologists, clinical

scientists or regulatory agencies, such as FDA, to evaluate whether a medicine is causally

associated with an adverse event. Dr. Blume’s lists of adverse events do not contribute to the

scientific assessment of a possible association between Neurontin and suicide. Dr. Blume’s

analyses involve nothing more than eye-balling counts of various adverse events, which is not a

valid scientific assessment of risk. Dr. Blume opines that reports of positive “dechallenge” and

“rechallenge”   support for her claims that Neurontin plays a causal role in suicide or suicidal




                                    28
Case 3:05-cv-00444 Document 172-1 Filed 04/27/10 Page 28 of 35 PageID #: 3914
behavior among patients exposed to the drug. A positive dechallenge is when a suspect drug is

withdrawn and the particular adverse event regresses or disappears. A positive rechallenge

means the suspect drug is re-introduced and the adverse event recurs. Dechallenge and

rechallenge are most meaningful when the adverse event is an objectively documented or

measured event, such as abnormal kidney function tests. In this instance, positive dechallenge

and rechallenge occur when the kidney function tests improve with discontinuation of the

suspect drug and then become abnormal again when the drug is re-introduced. Dechallenge and

rechallenge data are not useful in subjectively reported events such as depression. The highly

subjective dechallenge and dechallenge/rechallenge events like several of those cited by Dr.

Blume, are subject to biases which render them more difficult to interpret than changes in

objective adverse events like laboratory or blood tests. Dr. Blume’s use of positive dechallenge

to support her opinions about Neurontin is misleading because positive dechallenge for those

same events occurred in placebo patients in the same Neurontin clinical trials. Also, the draft

and final of Dr. McCormick’s Medical-Statistical Review addressed the dechallenge and

rechallenge events that Dr. Blume relies upon, and she did not attach any significance to those

events nor did she recommend any language in the labeling based on those events.

       In addition, the “psychobiological” events discussed by Dr. Blume are not rare in the

patient populations exposed to Neurontin in the absence of Neurontin exposure and have no

documented predictive value for suicide or suicidal behavior.

       Dr. Blume testified at her deposition that the Neurontin package insert should have

contained warnings or other labeling changes that would discourage physicians from prescribing

Neurontin based on safety issues she has identified. She also noted in her report that Pfizer




                                    29
Case 3:05-cv-00444 Document 172-1 Filed 04/27/10 Page 29 of 35 PageID #: 3915
should have warned healthcare professionals about a possible lack of efficacy in certain off-label

indications. I do not agree with these opinions.

       Dr. Blume testified that FDA has known for several years that physicians were

prescribing Neurontin for off-label indications. First, FDA does not regulate the practice of

medicine, meaning that once a product is approved for marketing in the U.S., prescribers are

permitted to prescribe the product however they feel is in their patients’ best interests.

Furthermore, if FDA had information indicating that a specific off-label use provided no benefit

to patients, FDA could have required a statement in the label to that effect. More recently, FDA

has had the authority to require Pfizer to include a specific warning in the labeling addressing

efficacy or safety concerns associated with off-label uses. To date, FDA has not requested any

changes addressing off label uses in the Neurontin labeling and it is my opinion that no such

changes are necessary or appropriate based on the available clinical data.

       Dr. Blume’s report sets forth a purported “Proportional Reporting Rate” (“PRR”) of the

FDA AERS database in support of her contention that the postmarketing surveillance data

revealed a “signal” for suicide. The analysis presented in Dr. Blume’s report is not a PRR.

Rather, Dr. Blume merely presents the percentage of suicide events for each drug relative to the

total number of adverse events for that drug. This is not the generally accepted method for

calculating a PRR, which would require an analysis of the entire AERS database. Even if her

analysis were a generally accepted-type of PRR, Dr, Blume has not followed generally accepted

methodology in interpreting the information. As stated by Dr. Brian Strom (who Dr. Blume has

acknowledged as an authority in the field of pharmacoempidemiology) in a 2005 article that is

labeled Exhibit 987, “…true signals should emerge from clinical judgment and that statistical

algorithms, such as PRRs, should be used as supplements to clinical and epidemiological




                                    30
Case 3:05-cv-00444 Document 172-1 Filed 04/27/10 Page 30 of 35 PageID #: 3916
judgment, not replacements.” PRRs and the adverse event reports used to calculate them are

hypothesis-generating only. Spontaneous adverse event reports are voluntary reports of possible

adverse effects of medications submitted to FDA or the manufacturer by healthcare providers,

patients, and other interested parties. These reports are often subjective and generally are only

useful in generating signals of possible new safety information,

       Dr. Blume is not qualified to assess clinical adverse event data in a meaningful way. She

is neither a clinician nor an epidemiologist and does not have the appropriate qualifications to

interpret clinical or epidemiological data in evaluating her purported PRR results.

       Dr. Blume further asserts in her declaration that by the fourth quarter of 2002, increases

in reports of serious adverse events were due to increases in off-label use. As she acknowledged

in her first deposition, notoriety bias during this time period would likely increase reporting rates

of adverse events. Dr. Blume apparently failed to recognize the general increase in reporting of

suicides to FDA’s Adverse Event Reporting System during this time period, including published

reports of suicide by Poison Control Centers. Failure to account for these variables significantly

limits the reliability of the inferences Dr. Blume makes simply using counts of adverse events.

       Plaintiffs have suggested that a combination of information (“red flags”), when

considered together, provides sufficient evidence that Neurontin has the biologic capacity to

cause suicidality and that the Neurontin label should have been changed to include a warning

pertaining to suicidality. First, much, if not all, of this information was submitted to and

considered by FDA during review and approval of this product.             Specifically, information

pertaining to dechallenge/rechallenge events, spontaneous adverse event reports, and safety data

included in the NDA, sNDAs, Safety Update Reports and other safety submissions, did not

suggest that Neurontin was associated with suicidality. In the absence of data signaling a risk for




                                    31
Case 3:05-cv-00444 Document 172-1 Filed 04/27/10 Page 31 of 35 PageID #: 3917
suicidality, warnings in the labeling were neither appropriate nor required.       I have addressed

many of the problems with this evidence in my testimony and reports in this litigation.

       For example, the suggestion that detailed information submitted to FDA about patients

who withdrew from clinical trials due to adverse events constituted a signal of suicidality is

baseless. First, at the time the data were submitted, FDA reviewed the information about these

patients and did not conclude that there was a signal for suicide or suicidality. Second, there is no

scientifically accepted connection between the various adverse event terms cited by Dr. Blume

and a risk for suicide or suicidality.      Third, the various tables setting forth clinical trial

withdrawals are incomplete and, when appropriately configured, do not demonstrate any

consistent pattern signaling a risk of suicide or suicidality among Neurontin users. Moreover,

the use of Dr. Blume’s purported PRR analysis of adverse event terms from various adverse

event databases is not scientifically valid and, in my opinion, does not demonstrate a signal for

suicidality. Finally, the FDA alert and subsequent meta-analysis do not in any way mean that

Pfizer’s Neurontin label was inadequate in its portrayal of the risk of suicide or suicidality.

[SHOW POWERPOIT HERE (BLUME’S “RED FLAGS” HAVE O CREDIBILITY)]

       I also have an opinion on advertising for medicines as it relates to this case. I have

expertise in this area. I have experience in providing information to the public on approved and

unapproved medications through my work in the Office of AIDS and Special Health Concerns

and am very familiar with the regulations addressing labeling, advertising and promotion of

prescription medicines.

       The FDA monitors prescription drug advertising through DDMAC, the division at FDA

responsible for reviewing, evaluating, and commenting on advertising, presentations and written

materials provided to prescribers as well and any other promotional statements or materials.




                                    32
Case 3:05-cv-00444 Document 172-1 Filed 04/27/10 Page 32 of 35 PageID #: 3918
DDMAC’s mission is “[t]o protect the public health by assuring prescription drug information is

truthful, balanced, and accurately communicated.”         DDMAC basically enforces labeling

regulations as applied to advertisements.      These regulations require advertisements for a

prescription drug include a brief summary of information about the drug, such as side effects,

contraindications, and effectiveness that is consistent with the approved product label. This

summary should be a “true statement” of information about important risks and benefits, which

is provided in a balanced fashion so that effectiveness claims are balanced with information

about side effects, about specific conditions under which the drug’s benefits do not outweigh

possible risks, and information about known or potential side effects. An advertisement or other

promotional material may be considered false and misleading by a DDMAC reviewer if he or

she determines that the risks and benefits of the product are presented in a way that “lacks fair

balance.” The specific allegations of “false and misleading,” “lacking in fair balance,” or

“failing to provide a true statement” of risks and benefits are required in all letters or other

contacts between DDMAC and the product sponsor when notifying the sponsor of possible

regulatory violations. Although the regulations provide some guidance on what constitutes a

“true statement,” “fair balance,” and “false and misleading,” application of the regulations is

subjective.

       DDMAC reviews all “launch materials” used for advertising at the time of the initial

approval or when additional indications are approved by FDA. These advertising materials come

directly from the pharmaceutical manufacturer and are reviewed by pharmacists, lawyers, nurses,

and other trained personnel in DDMAC.          Often, the people in DDMAC reviewing these

materials are assigned to products in a specific therapeutic class, so they are familiar with the

claims and concerns associated with that specific type of medicine..




                                    33
Case 3:05-cv-00444 Document 172-1 Filed 04/27/10 Page 33 of 35 PageID #: 3919
       If a DDMAC reviewer believes an advertisement violates FDA regulations, there are a

number of responses he or she may initiate. Among these possible responses are, in increasing

order of severity: untitled letters, warning letters, recalls, seizures, injunctions, administrative

detention, and criminal prosecution. Sending an untitled letter to a sponsor is the lowest level of

response to a potential regulatory violation. The CDER handbook, a document produced by

FDA to explain its policies and procedures for reviewers, notes that an untitled letter is used to

“address promotion violations that are less serious that those addressed in warning letters.”

“There is no requirement that the agency take enforcement action, although the [untitled] letters

may serve as a basis for additional regulatory action.”

       Pfizer received a letter from DDMAC on June 29, 2001 and on July 1, 2002. In response

to the June 29, 2001 letter, not only did Pfizer withdraw all promotional materials with

references to the study cited by DDMAC, but it also reviewed additional promotional materials

for mentions of other studies similar in design to the study to which DDMAC objected. Pfizer

provided its initial response to DDMAC within the specified 10-day timeframe. Pfizer also told

DDMAC they were discontinuing the use of the materials cited in the letter and were looking for

other advertising and promotional materials that might be objectionable because they included

statements or claims based on similar types of studies. These were timely and appropriate

responses by Pfizer and resulted in withdrawal of the specific materials cited by DDMAC as well

as other materials similar to the ones cited.      No additional regulatory actions were taken

following Pfizer’s responses to the DDMAC letter, even though there were other options

DDMAC could have pursued had DDMAC considered Pfizer’s response to the letter

unsatisfactory. As far as the July 1, 2002 letter is concerned, the issues raised about this piece

which DDMAC termed “misleading” are minor issues. Importantly, the term “misleading” does




                                    34
Case 3:05-cv-00444 Document 172-1 Filed 04/27/10 Page 34 of 35 PageID #: 3920
not mean that any physician or consumer was actually misled. Also, DDMAC did not require

Pfizer to issue a retraction or propose a corrective action to address the concerns noted in the

letter.

          So to reiterate my opinions in this matter, it is my opinion: [SHOW POWERPOIT

HERE (SUMMARY OF DR. ARROWSMITH’S OPIIOS)] First that the Neurontin

labeling was adequate under the regulations and provided appropriate information for safe and

effective use. Second that the package insert, and the Investigator’s Brochure prior to approval,

included information concerning suicidal behavior and adverse effects on mood reported during

clinical testing. And third that there was no reason for Pfizer to warn of suicidal behavior in the

Neurontin labeling prior to the requirement of class labeling in 2009 as the available information

did not establish that this medicine was associated with an increased risk of suicidal behavior.




                                    35
Case 3:05-cv-00444 Document 172-1 Filed 04/27/10 Page 35 of 35 PageID #: 3921
